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                     Exhibit 8
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                Infringement Claim Chart for U.S. Pat. No. US7023979B1 v. FLIR (“Defendant”)


   Claim10                                                Evidence
10. A             The FLIR Customer Service performs a method for communicating in a communication
communication     network.
s method
comprising:       For Example, FLIR Customer Service performs a method of communicating by
                  establishing, over a communication network, a call between callers with a request to the
                  appropriate department for assistance.




                  Source: Service and Support | Teledyne FLIR




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  Source: Support : GSO Customer support central (flir.com)




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  Source: Submit a ticket : GSO Customer support central (flir.com)




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(a) receiving a   The Teledyne FLIR Customer Service receives a plurality of communications, each having
plurality of      associated classification information.
communications
, each having     For example, Teledyne FLIR Customer Service receives calls from multiple callers. For
associated        each call, a user provides information about the nature of the call by selecting the
classification    appropriate department from the given choices via keypad entry. The responses are
information;      used to classify the call.




                  Source: Service and Support | Teledyne FLIR




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  Source: Support : GSO Customer support central (flir.com)




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  Source: Submit a ticket : GSO Customer support central (flir.com)




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                      Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)



(b) storing           The Teledyne FLIR Customer Service maintains information about potential targets that
information           includes support agents, departments, or specific resources capable of handling different
representing          types of inquiries.
characteristics
of a plurality of     For example, Teledyne FLIR Customer Service stores information about the skill set
potential             possessed by agents who are potential targets of the call.
targets;




                                                         7
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  Source: Service and Support | Teledyne FLIR




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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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                    Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




(c) determining     The Teledyne FLIR Customer Service determines an optimum target for each
an optimum          communication based on the communication classification and target characteristics
target for each     using a multivariate cost function comparing at least three potential targets.
communication
based on the        For example, Teledyne FLIR Customer Service analyses the caller selection to determine
communication       one or more skills that a product expert or agent who is selected to receive the call
classification      should have in order to provide the caller with the requested assistance. The system
and target          determines the potential agent based on the communication classification and performs
characteristics     automated calls using Teledyne CARIS Customer Services (i.e., a multivariate cost
using a             function). Teledyne FLIR employs numerous agents, at least three of which possess the
multivariate cost   skill set required by the call.
function
comparing at




                                                     11
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least three
potential
targets; and




                  Source: Service and Support | Teledyne FLIR




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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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                     Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




                     Source: Tech Support Phone Lines (custhelp.com)

(d) routing the      The Teledyne FLIR Customer Service routes the communication to the optimum target.




                                                       15
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communication
to the optimum   For example, upon determining, as the optimum target, the agent to which the call
target,          should be routed, Teledyne FLIR Customer Service connects the call to that destination
                 product specialist or agent.




                 Source: Service and Support | Teledyne FLIR




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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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                 Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




                 Source: Tech Support Phone Lines (custhelp.com)
said determining The Teledyne FLIR Customer Service performs the determination and the routing steps




                                                   19
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step and said     within a common operating environment.
routing step
being performed   For example, when a caller provides information about the nature of the call by selecting
within a          the appropriate department from the given choices, then Teledyne CARIS Customer
common            Services connects the call using a single CARIS interface (i.e., in a common operating
operating         system).
environment.




                  Source: Service and Support | Teledyne FLIR




                                                   20
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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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   Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




   Source: Tech Support Phone Lines (custhelp.com)




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